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 1 McGREGOR W. SCOTT
   United States Attorney
 2 JASON HITT
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5
 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-0302 MCE
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           ORDER
14   JAMES SHERMAN,
15                                Defendant.
16
17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:
20          1.      By previous order, this matter was set for status on April 11, 2019.

21          2.      By this stipulation, defendant now moves to continue the status conference until August

22 8, 2019, and to exclude time between April 11, 2019, and August 8, 2019, under Local Code T4.
23          3.      The parties agree and stipulate, and request that the Court find the following:

24                  a)     The government has represented that the discovery associated with this case

25 includes investigative reports, as well as audio and visual surveillance materials. All of this discovery
26 has been either produced directly to counsel and/or made available for inspection and copying.
27                  b)     Counsel for defendant desires additional time conduct additional defense

28 investigation, legal research, and to confer with his client about how to proceed with trial preparations.

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 1                  c)     Counsel for defendant believes that failure to grant the above-requested

 2 continuance would deny him/her the reasonable time necessary for effective preparation, taking into
 3 account the exercise of due diligence.
 4                  d)     The government does not object to the continuance.

 5                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 6 case as requested outweigh the interest of the public and the defendant in a trial within the original date

 7 prescribed by the Speedy Trial Act.
 8                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9 et seq., within which trial must commence, the time period of April 11, 2019 to August 8, 2019,
10 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it
11 results from a continuance granted by the Court at defendant’s request on the basis of the Court’s
12 finding that the ends of justice served by taking such action outweigh the best interest of the public and
13 the defendant in a speedy trial.
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      STIPULATION REGARDING EXCLUDABLE TIME              2
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 1          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5
 6
      Dated: April 10, 2019                                  McGREGOR W. SCOTT
 7                                                           United States Attorney
 8
                                                             /s/ Jason Hitt
 9                                                           JASON HITT
                                                             Assistant United States Attorney
10
11
      Dated: April 10, 2019                                  /s/ Chris Cosca, Esq.
12                                                           Chris Cosca, Esq.
13                                                           Counsel for Defendant
                                                             JAMES SHERMAN
14                                                           Authorized to sign for Mr. Cosca
                                                             on 4-10-19
15
16
                                                     ORDER
17
            IT IS SO ORDERED.
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     Dated: April 15, 2019
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      STIPULATION REGARDING EXCLUDABLE TIME              3
30    PERIODS UNDER SPEEDY TRIAL ACT
